Case 2:15-cv-10589-VAR-RSW ECF No. 13 filed 11/20/15                  PageID.57   Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


GUSTAV H. WALGREN,

       Plaintiff(s),

vs                                                           Case No: 15-10589
                                                             Honorable Victoria A. Roberts
NATIONAL COLLECTION SYSTEMS INC.,

      Defendant(s),
_______________________________________/

                                    ORDER OF DISMISSAL

       The parties advised the Court that they have amicably resolved their

differences. Accordingly,

       IT IS ORDERED that this case is dismissed. This Court retains

jurisdiction for the limited purpose of enforcing the terms of the settlement

agreement.


                                                 S/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: 11/20/2015

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 11/20/2015.

 S/ Carol A. Pinegar
 Deputy Clerk
